
In re Deutor, Silvio; — Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of Orleans, Criminal District Court Div. E, No. 366-489; to the Court of Appeal, Fourth Circuit, No. 2014-K-0873.
Denied. Untimely, repetitive, and not cognizable on collateral review. La. C.Cr.P. art. 930.8(A); La.C.Cr.P. art. 930.4(D); La.C.Cr.P. art. 930.3; State v. Cotton, 09-2397 (La.10/15/10), 45 So.3d 1030; State v. Thomas, 08-2912 (La.10/16/09), 19 So.3d 466.
